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    EXHIBIT 2
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                                 No. 21-_____



                                    IN THE
              Supreme Court of the United States
                                 _______________

                          IN RE: COURTNEY WILD,
                                                                Petitioner,




                On Petition for a Writ of Certiorari to the
          United States Court of Appeals for the Eleventh Circuit


                  PETITION FOR A WRIT OF CERTIORARI



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                                     ment)

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August 31, 2021
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                            QUESTION PRESENTED

      In 2004, Congress enacted the Crime Victims’ Rights Act (CVRA), 18 U.S.C.

§ 3771, a comprehensive bill of rights for federal crime victims with specific enforce-

ment provisions. Among the rights that the CVRA confers on crime victims is the

“reasonable right to confer with the attorney for the Government in the case.” 18

U.S.C. § 3771(a)(5). In the case below, a child sex trafficker—Jeffrey Epstein—was

able to negotiate a secret, pre-indictment non-prosecution agreement (NPA) with fed-

eral prosecutors. Even after the agreement was consummated, Government lawyers

did not confer with Epstein’s child sex abuse victims about it and misled them about

the agreement’s existence. App. 2. Over vigorous dissents, the Eleventh Circuit en

banc held below that it could not examine the Government’s “shameful” failure to

confer with Epstein’s victims because the CVRA “does not authorize a victim to seek

judicial enforcement of her CVRA rights in a freestanding civil action.” App. 3, 68.

The en banc decision leaves the Government free to negotiate secret, pre-indictment

non-prosecution agreements without informing crime victims. The question pre-

sented in this case is:

      Whether the Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771 (2004), a

comprehensive bill of rights for federal crime victims with specific enforcement pro-

visions, contains rights-creating language that allows crime victims to bring a suit to

enforce their right to confer with prosecutors and other CVRA rights before the Gov-

ernment files a federal indictment.




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                  PARTIES TO THE PROCEEDINGS BELOW

      This petition arises from a CVRA enforcement action filed by petitioner Court-

ney Wild (previously identified as Jane Doe 1) and Jane Doe 2 in the U.S. District

Court for the Southern District of Florida in 2008. The Government (specifically, the

U.S. Attorney’s Office for the Southern District of Florida) recognized Ms. Wild as a

victim of federal child sexual assault crimes committed by Jeffrey Epstein. Ms. Wild

argued that, in reaching a secret non-prosecution agreement with Epstein, the Gov-

ernment violated her rights under the CVRA. The District Court agreed that the

Government had violated her CVRA rights but ultimately dismissed Ms. Wild’s action

as moot after Epstein’s death by apparent suicide. Ms. Wild sought review of that

dismissal in the U.S. Court of Appeals for the Eleventh Circuit by petitioning for a

writ of mandamus, as specifically authorized by the CVRA. 18 U.S.C. § 3771(d)(3).

The United States responded to her petition. An Eleventh Circuit panel, and later the

full Court acting en banc, denied Ms. Wild’s petition.

      Ms. Wild now petitions this Court for a writ of certiorari. The real party in

interest and respondent to her petition to this Court is the United States.




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                           RELATED PROCEEDINGS

      The proceedings directly related to this petition are:

      United States District Court for the Southern District of Florida:

      Jane Does Nos. 1 and 2 v. United States, Case No. 9:08-cv-80736.

      United States Court of Appeals for the Eleventh Circuit:

       Jane Does Nos. 1 and 2 v. United States, Roy Black et al. Intervenors-Appel-
lants, Case No. 13-12923, 749 F.3d 999 (11th Cir. 2014).

      In re: Courtney Wild, Case No. 19-13843, 955 F.3d 1196 (11th Cir. 2020) (deny-
ing mandamus), 967 F.3d 1285 (11th Cir. 2020) (vacating opinion and granting re-
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                   PETITION FOR A WRIT OF CERTIORARI

      Courtney Wild respectfully petitions for a writ of certiorari to review the judg-

ment of the United States Court of Appeals for the Eleventh Circuit.

                                 INTRODUCTION

      This petition presents an important question with sweeping implications for

the proper enforcement of the Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771

(2004). The CVRA promises crime victims in federal cases a right to confer with pros-

ecutors. Yet in this case, one of the most infamous child sex traffickers in this coun-

try’s history—Jeffrey Epstein, a man with wealth, power, and political influence—

was able to negotiate a secret non-prosecution agreement (NPA) with federal prose-

cutors. The resulting tragedy was that the child victims who bravely came forward to

report their sexual abuse were, as the en banc decision below acknowledged, “left in

the dark—and, so it seems, affirmatively misled—by government lawyers” as to why

Epstein was not being federally prosecuted for his horrific crimes. App. 2.

       Beginning in July 2008, one of Epstein’s victims—petitioner Courtney Wild—

argued in the district court below that the Government had violated her CVRA right

to confer by concealing the existence of the clandestine deal with Epstein. In February

2019, after more than a decade of litigation, the district court ruled that in orches-

trating the secret deal, the Government had “misled” Ms. Wild and other Epstein

victims and thus violated their CVRA right to confer. App. 348-49. But following ex-

tensive briefing—and the apparent suicide of Epstein—the district court concluded

that it lacked jurisdiction to award any remedy to the victims. Ultimately, following

review by a panel of the Eleventh Circuit and then by the Circuit en banc, Ms. Wild
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was unable to overturn the district court’s decision. The en banc majority noted its

“sympathy for Ms. Wild—and the courage she has shown in pursuing this litigation.”

But, claiming to apply this Court’s decision in Alexander v. Sandoval, 532 U.S. 275,

287 (2001), the majority concluded that the CVRA “does not authorize a victim to seek

judicial enforcement of her CVRA rights in a freestanding civil action.” App. 3.

      The important legal issue of whether the CVRA allows the Government to con-

ceal secret, pre-charging non-prosecution agreements from victims demands immedi-

ate review by this Court. Because such arrangements are, by definition, secret, other

circuits may never be able to speak to the legality of such resolutions. Leaving the

issue to percolate means that the Government will be free to dispense with victims’

rights and orchestrate clandestine deals without affording victims any rights under

the CVRA. This Court may well face a now-or-never opportunity to review the im-

portant question of whether the CVRA permits such secrecy.

      In addition, the illegitimacy of the Justice Department’s practice of secretly

and deceptively arranging non-prosecution deals is far too serious for this Court to

wait to see what other circuits might say. The decision below “gut[s] victims’ rights

under the CVRA.” App. 98. Such a dubious interpretation runs counter to the stat-

ute’s plain language, which Congress designed to create a comprehensive bill of rights

for crime victims—with enforceable rights. The CVRA specifically provides that vic-

tims can assert their rights under the Act “in the district court in which a defendant

is being prosecuted for the crime or, if no prosecution is underway, in the district court

in the district in which the crime occurred.” 18 U.S.C. § 3771(d)(1) (emphasis added).



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And the CVRA covers “[o]fficers and employees of the Department of Justice and

other departments and agencies of the United States engaged in the detection, inves-

tigation, or prosecution of crime ….” 18 U.S.C. § 3771(c)(1) (emphasis added). Under

the statute’s plain language, ‘‘[t]here are clearly rights under the CVRA that apply

before any prosecution is underway. Logically, this includes the CVRA’s establish-

ment of victims’ reasonable right to confer with the attorney for the Government.” In

re Dean, 527 F.3d 391, 394 (5th Cir. 2008) (per curiam) (internal citation and quota-

tion omitted). Unsurprisingly, then, Congress has enacted a statute that forbids the

Government from concluding clandestine non-prosecution agreements and concealing

them from crime victims.

      Not only does the legal issue in this case demand immediate review, but the

outcome does as well. As the author of the en banc opinion below sadly conceded, the

Government’s deceptive conduct was “[s]hameful all the way around” and “[t]he whole

thing makes me sick.” App. 68 (Newsom, J., concurring). Yet, while conceding the

injustice of the result, the en banc Court below felt constrained to conclude that Ms.

Wild could not pursue any legal remedy. This Court should review the en banc deci-

sion below, reverse for the reasons given by the dissenting judges, and interpret the

Crime Victims’ Rights Act as providing enforceable rights for victims.




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                        OPINIONS AND ORDERS BELOW

      The Eleventh Circuit’s en banc decision for which review is sought (App. 1-185)

is reported at 994 F.3d 1244. The panel decision (App. 186-306) is reported at 955

F.3d 1196. The district court’s order dismissing Ms. Wild’s case (App. 307-21) is re-

ported at 411 F.Supp.3d 1321. The district court’s decision on the underlying issue of

the CVRA’s coverage (App. 355-68) is reported at 817 F.Supp.2d 1337.

                                   JURISDICTION

      The decision of the Eleventh Circuit en banc was entered on April 15, 2021. On

July 19, 2021, this Court reiterated its earlier orders that the time for filing a petition

for certiorari for a case decided in April 2021 is 150 days from the date of the judg-

ment. The jurisdiction of this Court is invoked under 28 U.S.C. § 1254(1) and

§ 1651(a).

                     RELEVANT STATUTORY PROVISIONS

      This case centers on the Crime Victims’ Rights Act, the relevant text of which

is reproduced in the appendix to this petition. App. 371-74.

                            STATEMENT OF THE CASE

      A.     The Crime Victims’ Rights Act.

      In 2004, Congress enacted the Crime Victims’ Rights Act to provide a compre-

hensive bill of rights for crime victims in the federal criminal justice process. In its

first sentence, the CVRA promises that “[a] crime victim has the following rights ….”

18 U.S.C. § 3771(a) (emphases added). From there, the CVRA proceeds to list eight

rights that victims possess under the law, including (as particularly relevant here)



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the “reasonable right to confer with the attorney for the Government in the case” and

the “right to be treated with fairness and with respect for the victim’s dignity and

privacy.” 18 U.S.C. § 3771(a)(5) & (8).

      In enacting the CVRA, Congress was acutely aware that its previous victims’

rights laws had failed to protect victims throughout the federal criminal justice pro-

cess because the statutes had proven to be unenforceable. As the CVRA’s congres-

sional sponsors explained, Congress decided to enact new legislation because “victims

were not being given the rights afforded to them by prior legislation.” 150 CONG. REC.

S4261 (Apr. 22, 2004) (statement of Senator Feinstein). In passing the CVRA, Con-

gress specifically sought to overrule an earlier Tenth Circuit decision, which held that

crime victims in the Oklahoma City bombing case had no “standing” to enforce their

rights in court. Id. (discussing United States v. McVeigh, 106 F.3d 325, 334-36 (10th

Cir. 1997)). See generally Paul G. Cassell, Recognizing Victims in the Federal Rules

of Criminal Procedure: Proposed Amendments in Light of the Crime Victims’ Rights

Act, 2005 BYU L. REV. 835, 845-47, 852.

      To ensure that victims could enforce their rights under the new law, the CVRA

provides that a crime victim can bring a CVRA enforcement action “in the district

court in which a defendant is being prosecuted for the crime or, if no prosecution is

underway, in the district court in the district in which the crime occurred.” 18 U.S.C.

§ 3771(d)(3). In explaining the CVRA’s enforcement provisions, the CVRA’s sponsors

stated that these provisions are “what makes this legislation so important, and dif-

ferent from earlier legislation: It provides mechanisms to enforce the set of rights



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provided to victims of crime.” 150 CONG. REC. S4261 (Apr. 22, 2004) (statement of

Sen. Feinstein). Thus, under the CVRA, “for the first time victims will have clear

standing to ask our courts to enforce their rights.” Id. Expanding from previous con-

gressional legislation, the CVRA also went “one very important step further—linking

rights to remedies ….” Id. Congress was concerned that, if victims lacked the ability

to enforce their rights “in the criminal trial and appellate courts of this country, any

rights afforded are, at best, rhetoric. We are far past the point where lip service to

victims’ rights is acceptable. The enforcement provisions of this bill ensure that never

again are victims’ rights provided in word but not in reality.” 150 CONG. REC. S4269

(Apr. 22, 2004) (statement of Sen. Kyl).

      B.     Proceedings Below

             1.     The Epstein Investigation and the “Infamous” Non-Prose-
                    cution Agreement.

      As the en banc decision below recognized, this case arises against the backdrop

of underlying facts that “are beyond scandalous—they tell a tale of national disgrace.”

App. 3. The national disgrace began from 1999 through 2007, when well-heeled and

well-connected financier Jeffrey Epstein ran a vast child sex trafficking ring, sexually

abusing girls (including Ms. Wild) at his mansion in Palm Beach, Florida and else-

where in the United States and overseas. App. 3. Following a lengthy criminal inves-

tigation, the FBI referred the case for prosecution to the U.S. Attorney’s Office for the

Southern District of Florida. App. 4. The Government’s prosecutors then secretly dis-

cussed the case for months with Epstein’s enormous legal defense team, which sought




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to deflect the prosecutors from filing the well-supported, 53-page indictment they had

already drafted. App. 4.

      Because these discussions had clearly matured to the point where a precise

disposition of specific federal criminal charges was involved, the prosecutors under-

stood that the CVRA extended rights to Epstein’s child sex abuse victims. As a result,

the Government prosecutors mailed Ms. Wild and more than thirty other Epstein

victims “standard CVRA victim notification letter[s]” advising them of their CVRA

rights, including their right to petition the district court for relief if the victims be-

lieved that the Government was violating their rights. App. 324, 369-70.

      Ultimately, the Government and Epstein covertly agreed to what would be-

come “an infamous non-prosecution agreement.” App. 4. Under this extraordinary

NPA, Epstein would plead guilty in Florida court to two low-level state offenses. App.

4-5. In exchange, the NPA labeled Epstein’s child victims “prostitutes” and granted

all of Epstein’s vast ring of “potential coconspirators” immunity from federal criminal

prosecution in Florida. App. 5. The agreement also contained financial provisions that

were “likely calculated to quickly and quietly resolve as many victim [civil] suits as

possible.” App. 5 n.1.


             2.     The Government’s Concealment of the Agreement from
                    Epstein’s Victims.

      Once the NPA was signed in September 2007, Epstein’s lawyers raised objec-

tions to the victims being informed about the agreement. But the career prosecutors

in the U.S. Attorney’s Office fully recognized that the CVRA required that the victims

be told what was happening. App. 104 n.7. For reasons that have yet to be explained,
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however, the Government never notified the victims about the agreement—or even

that such an agreement was under consideration. App. 189. Indeed, the Government’s

efforts “graduated from passive nondisclosure to (or at least close to) active misrep-

resentation.” App. 6. Rather than disclosing the NPA it had signed, the Government

sent letters to Ms. Wild and other victims telling them the case was “currently under

investigation” and requesting their “continued patience.” App. 6.

   On Friday, June 27, 2008, as Epstein was about to enter his state guilty pleas

triggering the federal NPA, the Government understood that the CVRA required it

to notify Epstein’s victims about the upcoming court date. Accordingly, it provided

the victims notice that Epstein would be pleading guilty to state charges on Monday,

June 30. App. 339. But the Government did not disclose that Epstein’s plea was

linked to the federal investigation and thus would prevent the filing of any federal

criminal charges against Epstein and his co-conspirators. App. 339-40. Accordingly,

Ms. Wild (and other victims) did not attend the June 30 hearing. App. 340. On that

day, Epstein pled guilty to the Florida state charges, formally triggering the previ-

ously signed NPA. App. 340.

             3.     The District Court Proceedings.

      Sensing that something nefarious was afoot, a week later, on July 7, 2008, Ms.

Wild filed a petition with the district court, alleging violations of her rights under the

CVRA. App. 106. Following various hearings, in August 2008, the district court or-

dered the Government to disclose the NPA to the victims. App. 107. Thereafter, the




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Government provided the NPA to the victims for the first time, while refusing to stip-

ulate to the relevant facts concerning how the NPA came into existence. App. 107.

      After two years of litigation in related civil suits against Epstein, in June 2010,

the victims obtained correspondence between the Government attorney’s and Ep-

stein’s defense lawyers that revealed how they had worked together to deliberately

conceal the NPA from the victims. At this point, “[c]ontradicting what it had stated

expressly in multiple earlier letters to the victims,” the Government reversed course

about the CVRA’s coverage and now claimed that the Act did not apply at all because

federal prosecutors had never filed federal charges against Epstein. App. 106.

      In September 2011, the district court rejected the Government’s new and novel

position. App. 359-64. The district court observed that the CVRA’s plain language

required victims’ rights to be extended by the Justice Department and other “agencies

of the United States engaged in the detection, investigation, or prosecution of crime,”

18 U.S.C. § 3771(c)(1) (emphasis in opinion), language which “surely contemplates

pre-charge application of the CVRA.” App. 362. And the district court further noted

that a victim can bring a CVRA enforcement action “in the district court in which a

defendant is being prosecuted for the crime or, if no prosecution is underway, in the

district court in the district in which the crime occurred.” App. 362 (citing 18 U.S.C.

§ 3771(d)(3) (emphasis in opinion)). The district court reasoned that “[i]f the CVRA’s

rights may be enforced before a prosecution is underway, then, to avoid a strained

reading of the statute, those rights must attach before a complaint or indictment for-

mally charges the defendant with the crime.” App. 362.



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      Proceeding under this district court ruling, over the next eight years, Ms. Wild

attempted to prove that the Government had disregarded Epstein’s victims’ CVRA

rights. After extensive litigation—and court-ordered production by the Government

of all external communications regarding the NPA—on February 21, 2019, the dis-

trict court agreed with the victims that the Government had violated their CVRA

right to confer. App. 222-54. The district court explained that it was undisputed that

the Government had entered into an NPA with Epstein without conferring with his

victims or even informing them of the agreement. App. 347. The district court held

that, at a bare minimum, the CVRA required “the Government to inform [the victims]

that it intended to enter into an agreement not to prosecute Epstein.” App. 348. The

district court further found that the Government had “conceal[ed]” the NPA from the

victims and “misled” the victims about the possibility of a federal prosecution. App.

348-49. The court concluded that “[w]hen the Government gives information to vic-

tims, it cannot be misleading.” App. 349.

      After ruling that the Government had violated the CVRA, the district court

directed briefing on what remedies were appropriate. App. 9. Ms. Wild then submit-

ted a brief listing nineteen proposed remedies, including rescission of the NPA’s im-

munity provision protecting Epstein and his co-conspirators from federal prosecution

in the Southern District of Florida. App. 9.

      Meanwhile, on July 6, 2019, the FBI arrested Jeffrey Epstein on federal sex

trafficking crimes committed in the Southern District of New York. App. 7.




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      On August 10, 2019, while in Government custody, Jeffrey Epstein apparently

committed suicide. App. 7.

      Shortly after Epstein’s reported suicide in New York, on September 16, 2019,

the Florida district court abruptly concluded that Ms. Wild’s request for remedies in

her case had become moot—even though she was seeking to invalidate the NPA’s

immunity provision protecting Epstein’s co-conspirators from federal prosecution.

App. 307-21. The district court acknowledged that the unfortunate consequence of its

order was that “despite [the victims] having demonstrated the Government violated

their rights under the CVRA, in the end they are not receiving much, if any, of the

relief they sought. They may take solace, however, in the fact that this litigation has

brought national attention to the Crime Victims’ Rights Act and the importance of

victims in the criminal justice system.” App. 320-21.

             4.     The Eleventh Circuit Panel Proceedings.

      Two weeks later, on September 30, 2019, Ms. Wild sought to have the district

court’s mootness dismissal reviewed by the Eleventh Circuit—appellate review that

the CVRA specifically authorizes. 18 U.S.C. § 3771(d)(3). Following oral argument, a

divided panel of the Eleventh Circuit reluctantly held that crime victims have no

CVRA rights at all until prosecutors formally file federal criminal charges. App. 186-

306. The panel sadly acknowledged that “[i]t isn’t lost on us that our decision leaves

petitioner and others like her largely emptyhanded, and we sincerely regret that.”

App. 237. Indeed, the panel admitted that “[u]nder our reading, the CVRA will not

prevent federal prosecutors from negotiating ‘secret’ plea and non-prosecution



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agreements, without ever notifying or conferring with victims, provided that they do

so before instituting criminal proceedings.” App. 237. The panel conceded that its

holding meant “[w]e can only hope that in light of the protections provided by other

statutes—and even more so in the wake of the public outcry over federal prosecutors’

handling of the Epstein case—[prosecutors] will not do so.” App. 237-38 (emphasis in

original).

       The panel dissent strongly challenged the majority’s reading of the CVRA, ar-

guing that “our Court should enforce the plain and unambiguous text of the CVRA

and hold that the victims had two CVRA rights—the right to confer with the govern-

ment’s attorney and the right to be treated fairly—that were repeatedly violated by

the [Government].” App. 245. The dissent concluded that the “Majority’s contorted

statutory interpretation materially revises the statute’s plain text and guts victims’

rights under the CVRA.” App. 247.

             5.    The Eleventh Circuit En Banc Proceedings.

       Ms. Wild filed a timely petition for rehearing en banc. On August 7, 2020, the

Eleventh Circuit granted rehearing en banc and vacated the panel’s decision.

       Following oral argument, on April 15, 2021, the Eleventh Circuit en banc de-

nied Ms. Wild’s petition by a vote of 7-4. App. 1-185. The en banc majority, however,

changed the rationale for the denial. Writing for the en banc majority (as he had for

the panel majority), Judge Newsom now concluded that “we needn’t decide whether,

in the abstract, the [CVRA] rights to confer and to be treated with fairness might

attach prior to the formal commencement of criminal proceedings ….” App. 13.



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Instead, relying on this Court’s decision in Alexander v. Sandoval, 532 U.S. 275, 287

(2001), the majority explained that the key issue was whether a statute enacted by

Congress “displays an intent to create not just a private right but also a private rem-

edy.” App. 20.

         Turning to that issue of remedy, the majority first noted that Ms. Wild relied

on provisions in the CVRA that created private remedies for victims to enforce their

rights. The majority conceded that, for example, the CVRA specifically provides that

victims can “assert[]” their CVRA rights “in the district court in which a defendant is

being prosecuted for the crime or, if no prosecution is underway, in the district court

in the district in which the crime occurred.” App. 45 (quoting 18 U.S.C. § 3771(d)(3)

(emphasis in original)). But while the district court (and other courts) had read this

phrase straightforwardly as meaning that a victim could assert rights if “no prosecu-

tion is [yet] underway,” the majority concluded that the language, “on its face, …

would well mean that ‘no prosecution is [still] underway.” App. 46 (emphasis in orig-

inal).

         Second, the majority turned to the “coverage” provision in the CVRA, which

extends the Act’s obligations to “[o]fficers and employees of the Department of Justice

and other departments and agencies of the United States engaged in the detection,

investigation, or prosecution of crime ….” App. 47. The majority believed that this

language was “a ‘to whom’ provision, not a ‘when’ provision.” App. 48. In the major-

ity’s view, if the provision were a “when” provision, then the clause would have “been

situated differently in the provision.” App. 49.



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      Judge Newsom, the author of the en banc majority opinion, also wrote a sepa-

rate concurring opinion to his own opinion. App. 68-69. He admitted that he was

“filled” with a “sense of sorrow” in rejecting Ms. Wild’s petition. App. 68. He agreed

that the Government’s concealment of the Epstein agreement was “[s]hameful all the

way around. The whole thing makes me sick.” App. 68 (cleaned up). But Judge New-

som felt compelled by this Court’s precedents to read the CVRA to produce a result

that made “my heart break for one of the parties before me.” App. 69.

      Chief Judge William Pryor and three other judges (Newsom, Lagoa, and

Tjoflat, JJ.) wrote a separate concurrence, arguing that the dissents had failed to

properly consider the context of the CVRA. App. 54-67.

      Judge Tjoflat, joined by four other judges (William Pryor, Wilson, Newsom, and

Lagoa, JJ.), also wrote a separate concurrence, expressing concern about the “unto-

ward effects” that would follow from allowing victims to assert CVRA rights pre-

charge. App. 70-96.

      Judge Branch dissented, joined by three other judges (Martin, Jill Pryor, and

Hull, JJ.). App. 97-155. Judge Branch explained that Ms. Wild’s petition “presents

important issues of first impression regarding the … CVRA … that affect all crime

victims in this Circuit.” App. 97. In Judge Branch’s view, the majority improperly

applied Alexander v. Sandoval, which held that the presence or absence of “rights-

creating” language in a statute is “critical to the Court’s analysis of whether Congress

intended to provide a private right of action to a particular benefitted class.” App. 99.

Judge Branch concluded that the majority should have followed the Fifth Circuit,



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which had held that the CVRA creates rights that can apply pre-charging. App. 118

(citing In re Dean, 527 F.3d 391, 394 (5th Cir. 2008)).

      Judge Hull also dissented, explaining that the majority’s decision would have

“far-reaching consequences in our Circuit.” App. 182. The decision will “leave[] federal

prosecutors free to engage in the secret plea deals and deception pre-charge that re-

sulted in the travesty here.” App. 182. The majority’s ruling would thus create a “sort

of two-tiered justice system—one in which wealthy defendants hire experienced coun-

sel to negotiate plea deals in secret and with no victim input ….” App. 182. Judge

Hull concluded that the majority’s ruling “eviscerates the CVRA and makes the Ep-

stein case a poster child for an entirely different justice system for crime victims of

wealthy defendants.” App. 184-85.

                  REASONS FOR GRANTING THE PETITION

      The Court should grant this petition because the Eleventh Circuit en banc “de-

cided an important question of federal law that has not been, but should be, settled

by this Court ….” S. Ct. R. 10(c). The importance of this case to crime victims—and

to the public—cannot be overstated. If the Eleventh Circuit’s interpretation of the

CVRA is allowed to stand, the Government will have received the first appellate court

permission to move forward with secret non-prosecution agreements. Twelve years of

extensive litigation in this case leave no doubt that the Government intends to take

full advantage of that permission.




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      Given that the underlying legal issue involves a practice that the Government

intends to keep secret, this Court may well face a now-or-never opportunity consider

the question presented. It was only due to unusual circumstances that Jeffrey Ep-

stein’s NPA was revealed to the victims—and the public. In future cases, there is no

guarantee that the Government will disclose its clandestine NPAs, much less disclose

them in a way that would permit the kind of district and appellate court challenges

that occurred here. Accordingly, unlike many other areas of federal law, this petition

presents an issue that this Court cannot simply leave to percolate in the circuits,

confident that it will have future opportunities for review. To ensure that it can re-

view the important issue of whether the CVRA permits secret NPAs, the Court must

immediately grant this petition.

      Congress clearly drafted the Crime Victims’ Rights Act to block such covert

Government maneuvers. By ignoring the “rights creating” language found in the

CVRA, the Eleventh Circuit en banc misapplied Alexander v. Sandoval, 532 U.S. 275

(2001). The consequence was to “gut” the Crime Victims’ Rights Act and create a two-

tier system of justice, in which wealthy defendants can conspire with prosecutors to

reach agreements that entirely exclude victim input and thwart transparency with

the public. App. 181-83.

      The en banc decision also warrants review because it validates a “national dis-

grace,” bringing the federal criminal justice system into disrepute. The Government

deceptively concealed a secret plea deal with “one of this era’s most infamous child

predators”—concealment that the en banc Court regretfully believed that it was



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powerless to review. App. 68. Conceivably, the comprehensive victims’ rights statute

that Congress crafted might somehow allow such deceitful behavior by the Govern-

ment. But such an important issue should be decided by this Court on plenary review.

I.    THE ELEVENTH CIRCUIT’S EN BANC DECISION DECIDED AN IMPORTANT ISSUE
      REGARDING ENFORCEMENT OF THE CRIME VICTIMS’ RIGHTS ACT THAT THIS
      COURT SHOULD SETTLE NOW.

      The important legal issue of whether the nation’s preeminent crime victims’

rights statute permits the Government to secretly conclude pre-indictment non-pros-

ecution agreements warrants immediate review by this Court. Simply put, the ille-

gitimacy of the Justice Department’s practice of covertly and deceptively arranging

non-prosecution deals is far too serious for this Court to wait to see what other circuits

might say. And, in any event, this Court now faces what may well be its only oppor-

tunity to review this critical issue because future secret non-prosecution agreements

are unlikely to result in litigation that could reach this Court.

      A.     This Court Should Settle the Issue of Whether the Crime Vic-
             tims’ Rights Act Permits the Government to Conceal Non-Prose-
             cution Agreements from Victims.

      It appears to be undisputed that, if the Eleventh Circuit’s en banc interpreta-

tion of the CVRA is allowed to stand, federal prosecutors will be free to secretly ne-

gotiate pre-charge non-prosecution agreements disposing of federal charges, all the

while keeping victims in the dark. As Judge Hull explained in her dissent below, “The

Majority’s holding has far-reaching consequences …. The Majority’s ruling—limiting

judicial enforcement of CVRA violations to a formal post-charge period—leaves fed-

eral prosecutors free to engage in the secret plea deals and deception pre-charge that

resulted in the travesty here.” App. 182.
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       Whether such clandestine and even deceptive practices are consistent with the

CVRA is an exceedingly important question of federal law that warrants this Court’s

immediate review. The mere existence of secret non-prosecution deals—such as the

one orchestrated by Epstein’s high-powered legal team—calls into doubt the fairness

of the federal criminal justice system. The availability of secret NPAs “eviscerates the

CVRA and makes the Epstein case a poster child for an entirely different justice sys-

tem for crime victims of wealthy defendants.” App. 185.

       By definition, such secret arrangements cannot be scrutinized by the public—

contrary to the presumption of openness that is a critical safeguard in our nation’s

criminal justice system. For example, this Court has recognized the historic im-

portance of open criminal trials, explaining that they provide “assurance that the

proceedings were conducted fairly to all concerned” and discourage “decisions based

on secret bias or partiality.” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

556 (1980) (Burger, C.J., plurality opinion) (citing M. HALE, THE HISTORY OF THE COM-

MON   LAW OF ENGLAND 343-345 (6th ed. 1820); 3 W. BLACKSTONE, COMMENTARIES ON

THE LAWS OF ENGLAND 372-73     (1769)). In modern times, most federal criminal prose-

cutions are not resolved by trial but rather by negotiation. And from what can be

gleaned from the existing public information, “[o]ver the last fifteen years, there has

been a dramatic increase in the use of pre-indictment ‘alternative settlement vehicles’

such as … non-prosecution agreements to resolve federal crimes.” App. 183. Cf. JOHN

C. COFFEE, JR., CORPORATE CRIME AND PUNISHMENT: THE CRISIS OF UNDERENFORCE-

MENT 138 (2020) (concluding that “in the [Justice Department’s increasing] transition




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from deferred prosecution agreements to nonprosecution agreements, we are seeing

a loss of transparency”). This Court should review whether the Government can law-

fully conclude such pre-indictment arrangements in secret without conferring with

victims.

      B.     This Court Likely Faces a Now-or-Never Opportunity to Review
             this Critical Issue for the CVRA’s Enforcement.

      If this Court asks the Government to respond to this petition, the Government

can be expected to attempt to avoid further review of its “shameful” behavior (App. 7,

68) by making the shopworn argument that this Court should wait for the issue to

more fully percolate in the circuits below. In other cases, such an argument might

carry the day. But here, any such argument carries little weight. Because the ques-

tion presented involves—quite literally—secret non-prosecution arrangements, other

circuits will likely never have a chance to review the issue. This Court may well face

a now-or-never opportunity to enforce the CVRA’s rights for crime victims.

      It was only through a unique combination of circumstances that the Govern-

ment’s covert plans came to light here through court-ordered disclosure of the Epstein

NPA. That disclosure occurred only because Epstein’s victims brought their lawsuit

to enforce their CVRA rights—a lawsuit that the Eleventh Circuit en banc later held

they should never have been allowed to even file. In future cases, it will be exceedingly

difficult (if not impossible) for crime victims to challenge the legal issues surrounding

“secret plea deals” in the lower courts—much less all the way to this Court. App. 182.

And one can read the voluminous pleadings of the Government through twelve years




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of contested litigation without seeing any promise (much less an enforceable one) that

the Government will avoid such shameful behavior in the future.

      In 2009, the Fifth Circuit had seemingly put an end to such covert practices by

the Government. In In re Dean, 527 F.3d 391 (5th Cir. 2008) (per curiam), prosecutors

and defense attorneys schemed together to keep a plea deal secret. Id. at 392-93. As

in this case, career prosecutors recognized their CVRA obligation to confer with vic-

tims before a plea. Id. But rather than entirely ignore the CVRA, the Dean prosecu-

tors filed an ex parte motion in the district court. The prosecutors contended that the

number of victims of the crime meant “it would not be practicable” to confer with all

of them and disclosing the plea agreement to the victims would “impair the plea ne-

gotiation process ….” Id. at 392. The Government accordingly asked to be relieved of

its acknowledged CVRA obligation to confer with victims pre-charging. Id. at 393.

The district court granted the motion, allowed the government to file secret charges,

and then accepted a secret plea agreement to those charges. Id. It was only at that

point that the Government notified the victims of what it had done.

      The victims challenged the secret deal before the district court. In a lengthy

opinion citing dozens of authorities, the district court squarely held that CVRA rights

apply before charges are filed. United States v. BP Prod. N. Am. Inc., 2008 WL 501321

at *11 (S.D. Tex. 2008). However, the district court also concluded that, because there

were specific findings justifying keeping this particular plea agreement secret, no ba-

sis existed for overturning the plea. Id. at *19-22.




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      The victims quickly sought review of the district court’s ruling in the Fifth Cir-

cuit, which held in a published opinion that the secret deal violated the CVRA because

the CVRA extends rights to victims before charging:

      The district court acknowledged that “[t]here are clearly rights under
      the CVRA that apply before any prosecution is underway.” BP
      Prods., 2008 WL 501321 at *11. Logically, this includes the CVRA’s es-
      tablishment of the victims’ “reasonable right to confer with the attorney
      for the Government.” 18 U.S.C. § 3771(a)(5). At least in the posture of
      this case (and we do not speculate on the applicability to other situa-
      tions), the government should have fashioned a reasonable way to in-
      form the victims of the likelihood of criminal charges and to ascertain
      the victims’ views on the possible details of a plea bargain.

Id. at 394. The Fifth Circuit then overturned the district court’s ultimate decision to

allow the filing of secret charges, explaining that “[i]n passing the [CVRA], Congress

made the policy decision—which we are bound to enforce—that the victims have a

right to inform the plea negotiation process by conferring with prosecutors before a

plea agreement is reached.” Id. at 395 (emphasis added).

      It is clear that the facts of the Fifth Circuit’s Dean case are “similar to the facts

in this case.” App. 118. However, the Eleventh Circuit en banc majority defensively

asserted that its ruling did not create a circuit split because, in Dean, the victims

could seek to “vindicate” their right to confer “during the course of an ongoing crimi-

nal prosecution.” App. 13. But as Judge Branch explained in her dissent below, this

is truly “a distinction without a difference” because the Fifth Circuit “addressed the

issue of the victims’ CVRA rights prior to the filing of the criminal information.” App.

119 n.14. More important, the path to “vindication” that the Eleventh Circuit en banc

relied upon will invariably be foreclosed in the setting of a non-prosecution agree-

ment—where no subsequent proceedings will occur.

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      The divergence between the Eleventh Circuit’s and Fifth Circuit’s approaches

warrants this Court’s immediate review. Regardless of how clear the split is with the

Fifth Circuit, the fact remains that the Eleventh Circuit’s en banc decision has vali-

dated deceptive plea deals, giving the Government a blueprint for executing such se-

cret arrangements in future cases in all other circuits. And because the non-

prosecution agreements can be secret—and (obviously) will not lead to any subse-

quent prosecution—it is unlikely that this Court will ever be able to review whether

the Government’s practice complies with the CVRA.

      On top of these seemingly insurmountable problems, it is also well known that

most crime victims are unable to secure legal representation to assert their rights in

criminal cases. See Paul G. Cassell & Margaret Garvin, Protecting Crime Victims in

State Constitutions: The Example of the New Marsy’s Law for Florida, 110 J. CRIM. L.

& CRIMINOLOGY 99, 136 (2020). Here, it was only because undersigned counsel

stepped in to represent Ms. Wild on a pro bono basis that this case has proceeded as

far as it has. See generally BRADLEY J. EDWARDS     ET AL.,   RELENTLESS PURSUIT: MY

FIGHT FOR THE VICTIMS OF JEFFREY EPSTEIN (2020).

      In sum, with respect to enforcing CVRA rights regarding pre-indictment non-

prosecution agreements, this case appears to effectively present a now-or-never op-

portunity for this Court to determine whether the Government’s covert practices com-

ply with the statute.




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II.   THE ELEVENTH CIRCUIT’S EN BANC DECISION DEPARTS FROM THIS COURT’S
      DECISION IN ALEXANDER V. SANDOVAL BY FAILING TO GIVE EFFECT TO THE
      CVRA’S RIGHTS-CREATING AND REMEDIAL LANGUAGE.

      Even if other circuits could somehow be expected to reach and decide the va-

lidity of the Government’s practice of secretly and deceptively reaching non-prosecu-

tion deals, the illegitimacy of the practice is far too serious for this Court to wait to

see what other circuits might say. At issue in this case is whether the Justice Depart-

ment will be left free to conceal from crime victims NPAs it reaches with the criminals

who have harmed those victims. Congress has clearly decided how this question is to

be answered. When Congress enacted the Crime Victims’ Rights Act, it placed specific

rights-creating language into the Act, including language allowing a victim to enforce

her CVRA rights “if no prosecution is underway, in the district court in the district in

which the crime occurred.” 18 U.S.C. § 3771(d)(3) (emphasis added). This is exactly

the sort of “rights-creating” language—and authorization to appear in court—that

this Court in Alexander said that Congress should use if it was creating enforceable

rights. 532 U.S. at 291.

      This reading of the CVRA is so straightforward that it is hard to understand

how the en banc majority below reached a different conclusion. But the majority and

concurring judges tipped their hand by spending multiple pages explaining their

views that, as a matter of policy, crime victims should not be permitted to confer with

prosecutors about pre-charging dispositions of criminal cases. This policy issue is not

for the judiciary to determine; instead, it belongs to Congress. And, in any event, by

creating a “reasonable” right for victims to confer with prosecutors, Congress sensibly



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established a modulated right that applies specifically in cases such as this one with-

out unduly burdening law enforcement.

         A.    Congress Granted Crime Victims Specific Enforcement Reme-
               dies in the Crime Victims’ Rights Act.

         The issue of whether the CVRA permits victims to enforce their rights before

charges are filed is ultimately a question of what Congress enacted. As this Court

explained in Alexander, “[l]ike substantive federal law itself, private rights of action

to enforce federal law must be created by Congress.” 532 U.S. at 286.

         Here, the Crime Victims’ Rights Act’s plain language makes clear that Con-

gress has used “rights-creating” language. Id. at 288. Indeed, the Act’s first sentence

begins by stating that “[a] crime victim has the following rights ….” 18 U.S.C.

§ 3771(a) (emphases added). Then, as relevant to this case, Congress promises crime

victims “[t]he reasonable right to confer with the attorney for the Government in the

case” and “[t]he right to be treated with fairness and with respect for the victim’s

dignity and privacy.” 18 U.S.C. § 3771(a)(5) & (8) (emphases added).

         Not only did Congress confer specific rights on crime victims, but it crafted

enforcement mechanisms for victims to enforce those rights. Indeed, Congress’s

stated purpose for enacting the CVRA was to “ensure that never again are victim’s

rights provided in word but not in reality.” 150 CONG. REC. S4269 (Apr. 22, 2004)

(statement of Sen. Kyl). This case merely requires an application of a cause of action

that Congress expressly provided in its enactment. In § 3771(d), entitled “Enforce-

ment and limitations,” Congress directed that victims could enforce their rights in

court:


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      (d) Enforcement and limitations.—

      (1) Rights.—The crime victim . . . may assert the rights described in sub-
      section (a).
      ...
      (3) Motion for relief and writ of mandamus.—The rights described in
      subsection (a) shall be asserted in the district court in which a defendant
      is being prosecuted for the crime or, if no prosecution is underway, in the
      district court in the district in which the crime occurred. The district
      court shall take up and decide any motion asserting a victim’s right
      forthwith.

18 U.S.C. § 3771(d) (emphases added). Thus, “[i]n the clear and unambiguous text of

§ 3771(d), Congress created a legal mechanism for crime victims to enforce their

CVRA rights (i.e., [a] statutory remedy) whenever a violation of such rights might

occur.” App. 128.

      Not only is this reading of the text “clear and unambiguous” but the majority’s

narrower reading produces at least three absurdities. The majority held that the

phrase requires a victim to bring a CVRA enforcement action in an ongoing proceed-

ing. The first absurdity is that this interpretation “effectively reads the phrase ‘if no

prosecution is underway’ out of the statute,” because when no prosecution is “under-

way,” no such ongoing proceeding will exist. App. 137.

      The second absurdity comes from the fact that, under the majority’s reading, a

victim might be required to file a motion for relief “in the district where the crime

occurred in which there is no pending or closed court proceeding because the defend-

ant was prosecuted in a different district. In other words, the motion for relief would

initiate a freestanding cause of action—something the Majority insists the statute

does not authorize.” App. 138.



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      The third absurdity stems from the fact that, in other parts of the CVRA, Con-

gress extended to victims rights that apply pre-charging. Some of the CVRA’s rights

apply in the context of on-going court proceedings—e.g., the right “to be reasonably

heard at any public proceeding in the district court involving release, plea, [or] sen-

tencing ….” 18 U.S.C. § 3771(a)(4). But, as the Fifth Circuit has held, “[t]here are

clearly rights under the CVRA that apply before any prosecution is underway. Logi-

cally, this includes the CVRA’s establishment of the victims’ ‘reasonable right to con-

fer with the attorney for the Government.’” In re Dean, 527 F.2d at 394 (cleaned up);

see also Hon. Jon Kyl et al., On the Wings of Their Angels: The Scott Campbell, Steph-

anie Roper, Wendy Preston, Louarna Gillis, and Nila Lynn Crime Victims’ Rights Act,

9 LEWIS & CLARK L. REV. 581, 594 (2005) (“While most of the rights guaranteed by

the CVRA apply in the context of legal proceedings following arrest and charging,

other important rights are triggered by the harm inflicted by the crime itself…. [T]he

CVRA sweeps … away [any doubts on this point] with its proviso that the rights es-

tablished by the Act may be asserted ‘if no prosecution is underway, in the district

court in the district in which the crime occurred.’”).

      Congress also made clear that the CVRA can apply during a criminal investi-

gation by expressly applying the Act to federal agencies involved in the “investiga-

tion” of crime. The CVRA instructs that the Justice Department and “other

departments and agencies of the United States engaged in the detection, investiga-

tion, or prosecution of crime” must “make their best efforts to see that crime victims

are … accorded[] the rights described in [the CVRA].” 18 U.S.C. § 3771(c)(1)



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(emphases added). As the principal dissent explained below, there would “be no rea-

son to mandate that federal agencies involved in crime ‘detection’ or ‘investigation’

ensure that crime victims are accorded their CVRA rights if those rights did not exist

pre-charge. Rather, the use of disjunctive wording ... —the ‘or’—indicates agencies

that fit either description must comply ….” App. 116-17. See generally Paul G. Cassell

et al., Crime Victims’ Rights During Criminal Investigations? Applying the Crime Vic-

tims’ Rights Act Before Criminal Charges are Filed, 104 J. CRIM. L. & CRIMINOLOGY

59, 87 (2014); see also Paul G. Cassell et al., Circumventing the Crime Victims’ Rights

Act: A Critical Analysis of the Eleventh Circuit’s Decision Upholding Jeffrey Epstein’s

Secret Non-Prosecution Agreement, 2021 MICH. ST. L. REV. 211, 228 (2021).

      The majority below engaged in a “strategic bypass.” App. 164. It chose not to

reach the obvious conclusion that Congress created rights that apply pre-charging

“rather than to hold Ms. Wild has CVRA rights that were violated but [has] no remedy

as to the government misconduct.” App. 164. But the net effect of the majority’s trun-

cated ruling is the conclusion that Congress, quite absurdly, crafted an Act that, on

the one hand, promised victims rights that extend pre-charging while, on the other

hand, failed to contain any enforcement mechanism reaching that far.

      The decision below clearly misapplied this Court’s holdings about how to inter-

pret Congress’s rights-creating language. This Court has instructed that “[j]ust as a

court cannot apply its independent policy judgment to recognize a cause of action that

Congress has denied, see Alexander v. Sandoval, 532 U.S. 275, 286–287 (2001), it

cannot    limit    a    cause    of    action    that    Congress     has    created.”



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Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 128 (2014). In-

deed, this Court has “recognized the traditional presumption in favor of any appro-

priate relief for violation of a federal right ….” Barnes v. Gorman, 536 U.S. 181, 185

(2002) (emphasis in original).

      B.     The Policy Concerns Raised by the Majority Provide no Basis
             for Ignoring the CVRA’s Plain Remedial Language.

      The recurring theme to the decision below was that allowing an enforcement

action pre-charging, while “not implausible” as a matter of text, produced policy re-

sults that the majority disagreed with. App. 36, 203. For example, as its lead illustra-

tion of what terrible occurrences might befall the country if Ms. Wild prevailed, the

majority expressed its concern that the CVRA would be interpreted to mean that

courts might be asked (as Ms. Wild did here) to “order prosecutors to confer” with

victims. App. 36.

      As a jurisprudential matter, the majority’s approach contradicts this Court’s

repeated holdings that “[t]he wisdom of Congress’ action . . . is not within our province

to second guess.” Eldred v. Ashcroft, 537 U.S. 186, 222 (2003). Ultimately, what kinds

of rights crime victims deserve in the federal criminal justice process is a policy deci-

sion left to the nation’s elected representatives.

       But looking at the majority’s parade of horribles, it is difficult to discern their

horribleness. Ironically, the majority noted that the question before it was not

“whether, as a matter of best practices, prosecutors should have consulted with Ms.

Wild (and other victims) before negotiating and executing Epstein’s NPA. By all ac-

counts—including the government’s own—they should have.” App. 52. Given the


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majority’s “sincere regret” about its decision approving a secret deal that was

“[s]hameful all the way around,” it is hard to understand how the majority simulta-

neously concluded that Congress did not intend to reinforce “best practices” by cover-

ing cases such as this one. App. 68. As the majority read the statute, Congress drafted

the Crime Victims’ Rights Act—essentially a broad bill of rights for crime victims—

to be easily circumvented by prosecutors through the simple expedient of “negotiating

‘secret’ plea and non-prosecution agreements before instituting criminal proceed-

ings.” App. 52. Surely a more natural reading of the Act is one that forbids such clan-

destine maneuvers.

      The majority’s sky-will-fall speculation is also belied by the Justice Depart-

ment’s ability to provide pre-charging rights to victims—including in this very case!

The Justice Department had no difficulty in determining that, as of 2006, when its

“attorney for the Government in the case” (18 U.S.C. § 3771(a)(5)) had drafted a spe-

cific federal indictment and was actively negotiating with Epstein’s numerous de-

fense attorneys about a possible disposition, the case had matured to the point where

Epstein’s victims possessed CVRA rights. Indeed, the Government’s lead career pros-

ecutor mailed more than thirty Epstein victims “standard CVRA victim notification

letters,” telling Ms. Wild and other victims that, “as a victim … of a federal offense

you have a number of [CVRA] rights.” App. 4, 329, 369 (emphasis added).

      Perhaps the Justice Department did not have any difficulty in providing

“standard” pre-charging notifications to crime victims in this case because it has long

been required to do so. In a separate statute that pre-dated the CVRA’s enactment,



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Congress required all Justice Department agencies engaged in “the detection, inves-

tigation, or prosecution of crime” to “identify the victim or victims of a crime” at “the

earliest opportunity after the detection of a crime at which it may be done without

interfering with an investigation….” 34 U.S.C. § 20141(b). The statute also required

Justice Department agencies to provide those identified victims with “the earliest

possible notice of … the status of the investigation of the crime, to the extent it is

appropriate to inform the victim and to the extent that it will not interfere with the

investigation.” 34 U.S.C. § 20141(c)(3). In light of these provisions, the Justice De-

partment’s investigative agencies “provide [service referrals, reasonable protection,

and notice concerning the status of the investigation] to thousands of victims every

year, whether or not the investigation results in a federal prosecution.” Letter from

Asst. A.G. Ronald Weich to Sen. Jon Kyl (Nov. 3, 2011), cited in Cassell et al., 104 J.

CRIM. L. & CRIMINOLOGY at 96. Presumably, in crafting the CVRA in 2004, Congress

understood that the Justice Department was already making these “standard” pre-

charging notifications.

      At least in circumstances where a case has matured to the point where an in-

vestigation has been completed, federal charges have been drafted, and prosecutors

and defense attorney are engaging in negotiations about disposition of those charges,

the CVRA requires that prosecutors must take the modest step of conferring with the

victims as well. This important and recurring issue regarding how the CVRA operates

pre-charging demands immediate review by this Court.




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III.   REVIEW OF THE EN BANC DECISION BELOW IS ALSO WARRANTED TO HELP
       RESTORE CONFIDENCE IN THE FAIRNESS OF THE FEDERAL CRIMINAL JUSTICE
       SYSTEM.

       Even if the only relevant consideration were the effect of the Eleventh Circuit’s

errors on this particular case, this Court’s review would still be warranted. As the

majority below recognized, “[t]he facts underlying this case … are beyond scandal-

ous—they tell a tale of national disgrace.” App. 3. The nation’s highest Court should

review this “national disgrace” and bring some measure of justice by overturning the

decision below.

       This case involves “one of this era’s most infamous child predators.” App. 68.

Any other criminal who ran such an extensive international child sex trafficking con-

spiracy would, no doubt, have received a lengthy federal prison term. But somehow,

Epstein arranged a secret deal that allowed him to serve most of his time on “work

release.” See Jeffrey Epstein’s Wealth Allowed Him Many Perks While Serving Jail

Time in Florida, WASH. POST (July 19, 2019). 1 This “preposterous” non-prosecution

agreement, Tung Yin, Learning from the Jeffrey Epstein Mess: It’s Time to Add a

Cause of Action for Damages to the Crime Victims’ Rights Act, 69 KANS. L. REV. 447,

489 (2021), has left Epstein’s victims—and the public—to wonder why Epstein was

treated so favorably. As the dissent below explained, “[m]ysteries remain about how

Epstein escaped federal prosecution and why, for nearly a year, the government made

affirmative misrepresentations to the Florida victims of his serious sex crimes and to

the victims’ counsel.” App. 184.


1  https://www.washingtonpost.com/investigations/jeffrey-epsteins-wealth-allowed-him-many-perks-
while-serving-jail-time-in-florida/2019/07/17/fab2c128-a8c5-11e9-a3a6-ab670962db05_story.html.

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        These “mysteries” about the deal have led to fierce criticism from all quarters.

For example, Senator Ben Sasse, then-Chairman of the Senate Judiciary Oversight

Subcommittee, wrote to Attorney General William Barr that “[t]he idea that wealth

and connections can buy injustice—the only plausible explanation for such patheti-

cally soft terms for a serial child rapist at the heart of a massive international crimi-

nal enterprise—is wholly and completely inconsistent with the basic notions of

fairness and equality that undergird the rule of law enshrined in our Constitution.”

Letter from Sen. Sasse to Attorney General Barr (Aug. 13, 2019). 2 The bottom line is

that the shocking Epstein deal has “ignited a crisis of public trust in the Department

and exacerbated the erosion of trust that the American people have in our institutions

of republican self-government more broadly.” Letter from Senators Sasse, Blumen-

thal, Cruz, and Blackburn to Inspector General Horowitz (Dec. 2, 2019). 3

        The Justice Department itself investigated the mysterious origins of the Ep-

stein plea deal. But the resulting report by the Office of Professional Responsibility

(OPR) has never been formally released to the victims or the public. Instead, the De-

partment has officially released only a brief “executive summary.” See Statement on

DOJ Office of Professional Responsibility Report on Jeffrey Epstein 2006-2008 Inves-

tigation (Nov. 12, 2020). 4 That summary purports to blame the deal on “poor judg-

ment,” but fails to provide a full accounting of what happened. See Sun Sentinel


2   https://www.sasse.senate.gov/public/index.cfm/2019/8/sasse-to-doj-rip-up-epstein-deal-go-after-co-
conspirators.
3  https://www.sasse.senate.gov/public/_cache/files/cb719d31-2a1f-45ad-a701-3fc3c7b73417/12-02-19-
dojigepstein.pdf.
4     https://www.justice.gov/opa/pr/statement-doj-office-professional-responsibility-report-jeffrey-ep-
stein-2006-2008.

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Editorial Board, Feds Still Stonewalling on Jeffrey Epstein Deal, SOUTH FLA. SUN

SENTINEL (Dec. 1, 2020) (“More than a decade later, and with Epstein dead, the De-

partment of Justice still resists a full accounting.”).

      According to a copy of the report that the media has somehow obtained, the

OPR report appears to contain evidence that, in the earlier proceedings in the district

court below, the Justice Department affirmatively misrepresented that its prosecu-

tors had disclosed all of the relevant external emails regarding the Epstein agree-

ment. If the Court asks the Government to respond to this petition, we believe that

the Government will be forced to confirm that, far from having produced all the ex-

ternal emails concerning the deal, in fact, an undisclosed gap existed in U.S. Attorney

Alex Acosta’s email inbox from May 26, 2007, through April 2, 2008—the exact time

period when Mr. Acosta was most deeply involved in negotiating the Epstein non-

prosecution agreement. See Motion to Supplement the Record with Previously Con-

cealed Information, In re: Courtney Wild, No. 19-13843 (11th Cir. Nov. 16, 2020). The

Government has yet to take any steps to correct its false representations to the dis-

trict court—and to Ms. Wild.

      It is not uncommon for this Court to grant review in highly publicized criminal

cases because of the importance that such cases have in shaping the public’s percep-

tion of how the system operates. See, e.g., Skilling v. United States, 561 U.S. 358, 377-

99 (2010) (affirming lower court decision that substantial pre-trial publicity in the

Enron case did not produce an unfair trial). This case may well be the most prominent

criminal case in recent memory—and has created a public view that, so long as a



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defendant is powerful enough, he can manipulate the federal criminal justice system.

See Marc Fisher et al., The Pressure on a Prosecutor: How Epstein’s Wealth and Power

Steered Acosta Toward Lenient Deal, WASH. POST (July 12, 2019) (“Acosta’s decision

[] to sign [the NPA] . . . has led to repeated waves of public outrage in the years

since.”). If left to stand, the decision below will “make[] the Epstein case a poster child

for an entirely different justice system for crime victims of wealthy defendants” and

validate a “two-tiered justice system—one in which wealthy defendants hire experi-

enced counsel to negotiate plea deals in secret and with no victim input.” App. 183.

This Court should grant Ms. Wild’s petition and hold that victims can argue in court

that Epstein’s infamous non-prosecution deal cannot stand because it was covertly

orchestrated in violation of the Crime Victims’ Rights Act.

                                    CONCLUSION

       The petition for a writ of certiorari should be granted.

       Respectfully submitted,

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                                           ment)

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